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     JOHN F. GARLAND #117554
 1   Attorney at Law
     2950 Mariposa Street, Suite 130
 2   Fresno, California 93721
 3   Telephone: (559) 497-6132
 4   Attorney for Defendant,
     SAIR EDWARDO MALDONADO-SOTO
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 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                                 Case No. 1:16-CR-00106 LJO-SKO
10           Plaintiff,                                        WAIVER OF APPEARANCE
11                                                             AND ORDER THEREON
                    v.
12                                                             DATE: January 3, 2017
     SAIR EDWARDO MALDONADO-                                   TIME: 1:00 p.m.
13   SOTO,                                                     Courtroom Seven

14          Defendant.                                         HONORABLE SHEILA K. OBERTO

15
16          Defendant, SAIR EDWARDO MALDONADO-SOTO, hereby waives his right to be
17   present in person in open court upon the hearing presently set for January 3, 2017 at 1:00 p.m.
18
     in Courtroom Seven of the above entitled court. Defendant hereby requests the court to
19
     proceed in his absence and agrees that his interests will be deemed represented at said hearing
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21   by the presence of his attorney, John F. Garland. Defendant further agrees to be present in

22   court at all future hearing dates to be set by the court including the date set for jury trial.
23
24   Dated: December 4, 2016                                       /s/ Sair Edwardo Maldonado-Soto
                                                                  SAIR EDWARDO MALDONADO-SOTO
25
26
27   Dated: December 4, 2016                                        /s/ John F. Garland
                                                                    JOHN F. GARLAND
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     ___________________________________________________________________________________________________________________
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 2
                                                  ORDER
 3
 4            Good cause appearing,
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              IT IS HEREBY ORDERED that defendant SAIR EDWARDO MALDONADO-SOTO
 6
     is hereby excused from appearing at the court hearing scheduled for January 3, 2017, at 1:00
 7
     p.m.
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     IT IS SO ORDERED.
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11   Dated:      December 7, 2016                                           /s/   Sheila K. Oberto                    .
                                                                UNITED STATES MAGISTRATE JUDGE
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